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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:14CR363
       vs.                                   )
                                             )                   ORDER
                                             )
CARLOS VARGAS-ROMERO,                        )
SYLVIA GARCIA,                               )
LIMBERG DE PAZ-ESPINOSA,                     )
REYNALDO URBINA-SOTRES,

                     DefendantS.


      This matter is before the court on defendant Carlos Vargas-Romero’s unopposed
motion to continue trial [151] as defense counsel will be out of town. Counsel for other co-
defendants have indicated they have plans to be out of town. The defendant has previously
complied with NECrimR 12.1(a). See filing [66]. For good cause shown,

       IT IS ORDERED that the motion to continue trial [151] is granted, as follows:

     1. The jury trial, for all defendants, now set for June 30, 2015 is continued to
August 11, 2015.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and August 11, 2015, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED June 11, 2015.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
